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                EXHIBIT E
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                                        UNITED STATES DISTRICT COURT
                                        FOR THE DISTRICT OF MARYLAND




 LA UNIÓN DEL PUEBLO ENTERO, et al.,


                         Plaintiffs,
         v.


 DONALD J. TRUMP, sued in his official capacity       Civil Action No. 8:19-CV-02710-PX
 as President of the United States, et al.,


                         Defendants.



                           DECLARATION OF KIMBALL W. BRACE

I.       INTRODUCTION

1.      I am the president of Election Data Services, Inc. (E.D.S. Inc.), a Manassas, Virginia-

based consulting firm whose specialty is reapportionment, redistricting matters, election

administration issues, and the census.

2.      I have been retained by the plaintiffs in La Union del Pueblo Entero v. Trump et al., Case

No. 8-19-cv-02710 (D. Md.). I have been asked to assess the impact of a truncated Census field

operation and post-processing operation on (i) the apportionment of Congressional seats

following the 2020 Census, and (ii) the dilution of the votes of people living in certain counties as

a result of intrastate redistricting.

3.      All the materials considered in forming the opinions contained herein are identified in this

report. I am being compensated for my work on this matter at an hourly rate of $175, while

members of my staff at billed at $140 per hour.




                                                                                                     1
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II.      BACKGROUND AND QUALIFICATIONS

4.      I attended American University in Washington, D.C., from 1969 through 1974 (having

taken a year off for the 1972 campaign), where I earned a B.A. degree in Political Science. I

started E.D.S. Inc. in 1977 and have been with the company since that time.

5.      Prior to 1977, I was a journalist and employed by companies like NBC News,

Congressional Quarterly, and Plus Publications. While I was with NBC News, I was a

researcher, advance man, and, during the 1972 election year, an election analyst for the NBC

News Elections Unit. One of my responsibilities was to follow the redistricting process that

occurred after the 1970 census. At Congressional Quarterly, I was in charge of congressional

voting studies. At Plus Publications, I was Associate Editor of a newsletter called Election

Administration Reports, a bi-weekly publication for state and county election administrators and

registrars of voters. A copy of my curriculum vitae is attached as Exhibit 1.

6.      As president of E.D.S. Inc., I supervise and direct all major projects in which the

company is involved.

7.      E.D.S. Inc. is a research facility and consulting firm dealing with many aspects of the

electoral process. The company and its staff have been hired by state and local governments

across the nation to provide software, database development services, and consulting services for

the creation of districting plans and the analysis of many aspects of the apportionment and

redistricting process.

8.      Since 1979, I, individually and with E.D.S. Inc., have been actively involved in many

aspects of the redistricting and reapportionment process, having gone through four full census

and redistricting cycles. We have already been retained by several states for the planning and

database activities associated with the 2020 redistricting process. I have been a consultant to

many state and local governmental organizations around the nation, providing strategic advice

and consulting on redistricting matters, coordinating the development of the databases used in the

                                                                                                  2
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redistricting process, creating and assisting others with the creation of districting plans, and

analyzing many aspects of districts and district configurations.

9.     Over the past 39 years, E.D.S. Inc.’s clients for redistricting services have come from

more than half the states in the nation. In addition, over the past three decades, I have been called

upon to provide reports, expert witness testimony, and assistance to attorneys in more than 70

different court cases.

10.    Further, I frequently give speeches to groups and organizations and participate in

numerous conferences and panels on various aspects of apportionment, redistricting, and the

census. Since the early 1980s, I have been a regular participant and speaker at annual and bi-

annual meetings of the Task Force on Redistricting of the National Conference of State

Legislatures (“NCSL”). I have also been on their faculty, as NCSL has conducted five regional

“Get Ready for Redistricting” seminars each decade since 1980. I was also appointed by the

U.S. Secretary of Commerce to the 2010 Census Advisory Committee, a 20-person advisory

board to the Director of the Census Bureau and served for two terms. Earlier this year I was

asked to be NCSL’s representative on a series of half-day small-group expert meetings, being

arranged by the Committee on National Statistics (CNSTAT), to delve deeply into and provide

informal discussion/feedback with Census Bureau staff as they continue to develop the

differential privacy-based Disclosure Avoidance System for the 2020 census. I am regularly

called upon by members of the press with questions on redistricting, reapportionment, the census,

election administration issues, and politics in general.

11.    In addition to its redistricting work, E.D.S. Inc. provides assistance in the election

administration field to state and local jurisdictions in such areas as precinct management, voter

registration systems, and voting equipment evaluation. E.D.S. Inc. regularly collects election

returns for each state in the nation. In 1992, the company published a 500-page volume of

county-level voter registration and voter turnout data, and election returns for the entire nation

                                                                                                     3
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(The Election Data Book: A Statistical Portrait of Voting in America, 1992 (Bernan Press,

1993)). While we only published the single volume, we have continued to compile an electronic

county-level database for each general election since that time, which we sell to numerous

institutions and organizations.

12.    I personally have been involved in the election administration field for over 40 years. I

have worked for federal government clients (Federal Election Commission, Election

Administration Commission, GAO, Library of Congress) along with a number of state

governments on different aspects of election administration. These include studies on voter

registration systems as well as voting equipment.

13.    Since 2008, I have been a poll worker in Prince William County, VA where I live.

Because the state holds elections every year and due to my interest in all aspects of election

administration, I have graduated to now being “chief judge” in the precincts that I have been

assigned to work. In 2012, the county experienced long lines at the polls on Election Day, and I

was then appointed to a 20-person task force by the County Board of Supervisors to investigate

the cause of the problems. Because of my data background, I compiled and analyzed all the data

used by the task force, presenting updates at our bi-weekly meetings over the 5-month life of the

task force. With the retirement of the County’s General Registrar (director of elections for the

county), I was asked to take over the 11-person office. While I declined the full time job offer, I

did agree to be the Acting General Registrar for four months while the county conducted a search

for a full time replacement. I have continued to be actively involved in election administration

issues within the county since that time. I have continued to be involved with the county, now

serving as chief judge in a number of rotating precincts that need assistance with each election, as

well as serving on the County’s Historical Commission since 2015 (and elected Chairman twice

since 2017).




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III.      U.S. CONGRESSIONAL REAPPORTIONMENT: BASELINE PROJECTIONS
          FOR 2020
14.       For the past four decades I and Election Data Services have studied and issued yearly

reports on the apportionment process using new population estimates released by the Census

Bureau and private demographic firms. All our reports can be found at our website:

www.electiondataservices.com, under the “Research” tab. We have become a staple for the

press and others to cite when looking at the shift that is occurring in population between different

states.

15.       In the mid-1980s, E.D.S. Inc. developed software to calculate the distribution of

congressional districts to the states based on population or other data. Initially developed in the

Basic programming language, in the early 1990s, we reprogrammed it as macros for Excel

spreadsheets. The program implemented the “method of equal proportions” formula that was

adopted by the U.S. Congress in 1941 as the official manner to divide seats in the US House of

Representatives among the states. As the Constitution stipulates, each state is provided at least

one initial seat in the House of Representatives. The formula is actually used to apportion the

remaining 385 districts. The formula works as follows:


          The rest of the seats are handed out based on statistical “priority values” assigned
          to each additional seat that a state might get. In as close to plain English as the
          formula will allow, these priority values are calculated in a two-step process that
          requires dividing a state’s population by the square root of the product of the
          number of seats it’s already been assigned and that number plus one. The priority
          numbers are then rank ordered: “State A” will get an additional seat if its
          priority value for that seat is greater than any other state’s. The seats are
          disbursed to states based on these rankings until all 435 have been awarded. 1




1 Greg Giroux, “Before Redistricting, That Other ‘R’ Word,” CQ Weekly (Nov. 30, 2009); see

also Kristin D. Burnett, “Congressional Apportionment: 2010 Census Briefs,” U.S. Census
Bureau (Nov. 2011), https://www.census.gov/prod/cen2010/briefs/c2010br-08.pdf.


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16.    Our reapportionment program calculates not only how many seats each state would

 receive based on the population or other numbers put into the formula, but it also calculates and

 reports the number of people a state gained its last seat by or lost the next seat by. It reports the

 last seat number that is given to a state, as well as what number seat the next district would be if

 the calculations continued past the 435 seat cut-off. The program also allows the user to change

 the maximum number of seats to be calculated. Finally, the program calculates the ideal district

 size for each state, by taking the state’s total population and dividing it by the number of seats

 that the state has been awarded.

17.    On at least a yearly basis, we have utilized the apportionment program to analyze the

 Census Bureau’s annual state population estimates, which are usually released in late December

 each year. Our resulting studies and press releases have been consistently referenced by the

 media and scholars. Our studies are usually released the same day the Census Bureau estimates

 are unveiled and can be found on our website (www.electiondataservices.com). All of our

 historical studies (back to when we started them in 1994) and press releases are also kept on our

 website, available for all to see. The same tables have also been generated from the final

 decennial population numbers each decade back to 1940. Our website also has a historical

 table, that we have continued to update, showing the number of seats given to each state each

 decade back to the nation’s founding in 1789.

18.    We can utilize the annual estimates from the Bureau to create reliable projections of what

 the population, by state, might be at the time of the next decennial census (April 1 of the year

 ending in “0”) and test those estimates on the anticipated deviations that will result. We do this

 projection each year and report the results in our press releases. A copy of our most recent

 study, released December 30, 2019, is attached to this report as Exhibit 2. For the purposes of

 studying the 2019 population estimates released by the Census Bureau in December 2019,

 E.D.S. Inc. created a series of estimates for possible 2020 population projections based upon

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 various amounts of change that were apparent in the Bureau’s data. The three trend models used

 various time factors that the change would be calculated upon.

19.     While our most recent study also reported on a “short-term change”, a “mid-term change”

 and a “long-term change” model, at this point in the decade (when the Census is currently

 ongoing) it is logical to focus on just the “short-term change” model.

20.     Using the 2019 population estimates, I am able to calculate a projected allocation of seats

 in the House of Representatives. I calculate the number of seats to be apportioned to each State

 based upon the so-called “method of equal proportions.” As discussed above, under this

 formula, the population of each state is multiplied by a constant that is mathematically

 determined to test the priority of each state for an additional seat in the House. The only

 variable entered into the formula is the population of the states, as reported in the decennial

 Census. Any variation in the population will modify the priority ranking of the states and can

 cause a state to lose, or to fail to gain, an additional seat.

21.     As we reported repeatedly in our 2019 report, and have continued to stress in press

 interviews, speeches, and conversations, the apportionment formula is very susceptible to slight

 changes in state’s individual populations and how they relate to other states’ populations. We

 always demonstrate this vulnerability by looking at the states that fall close to the magic 435 cut-

 off for seats.

                                    2019 Reapportionment Analysis

                          2020 Projections (using 2018-2019 short-term trend)

                                     Margin of                                          Margin of
        Last Five Seats                Gain                      Next Seats               Loss
 431 Illinois (17th)                  126,052             436 Alabama (17th)               10,072
 432 New York (26th)                   61,279             437 Minnesota (8th)              21,992
 433 Texas (39th)                      79,742             438 Ohio (16th)                  74,135
 434 Montana (2nd)                      2,402             439 California (53rd)          344,367
 435 Florida (29th)                    44,285             440 Rhode Island (2nd)           14,539



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22.    All of the above states are very possible to change their ranking, and therefore their

allocation of seats, when the final population numbers are published at the end of this year.

23.    We’ve seen this happen in past decades, as we always note in our studies, when

circumstances like weather events have affected apportionment. The Census Bureau’s estimated

populations released for 2005 showed Louisiana would keep all their congressional districts that

decade. Even the Bureau’s own projections for 2010 released that same year showed Louisiana

staying the same. Then hurricane Katrina hit Louisiana at the end of August 2005 (after the date

of the population estimates). Devastation and population loss impacted New Orleans in a major

way, and when the Bureau’s 2006 population estimates were released Louisiana was looking at

losing a congressional seat. That was ultimately confirmed when the 2010 Census was taken,

and state data was released at the end of that year. Just last week, when Hurricane Laura came

ashore in the Gulf Coast, I was called by several media and a Louisiana State Senator wondering

about the likely impact on 2020. The current hurricane season, wild fires, and the ongoing

COVID-19 pandemic make it more likely that undercounts will be exacerbated, particularly if

Census operations are truncated.

24.    A changed practice on how to count the military overseas could also change the final

apportionment when it is announced December 31, 2020. For the 2020 Census the Census

Bureau has changed the “residency rules” for counting the military by creating a distinction

between personnel who are deployed overseas (usually for short periods of time) compared to

those who are stationed or assigned overseas (frequently for longer periods of time). The Bureau

will use DOD’s administrative records to count deployed personnel at their usual residence in the

US for both apportionment and redistricting purposes (they will be embedded within the state’s

resident population counts). On the other hand, personnel who are stationed or assigned

overseas will be counted to their “home state of record” for apportionment purposes only and

will show up as part of a state’s total “overseas count” when the Bureau releases the final and

                                                                                                  8
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 official apportionment data by December, 31, 2020. Military sources have told the Census

 Bureau that of all overseas military, approximately 15% are deployed personnel and 85% are

 stationed or assigned overseas. Overseas military personnel have been a factor in the

 apportionment formula for the past several decades, including the switching of the final district

 in 2000 that went from Utah to North Carolina.

 25.     These numbers are likely to also be significantly impacted by how well the Commerce

 Department and Census Bureau conducts the census, how well the American public responds to

 this decennial exercise, the first Census where major components will be conducted via the

 internet, and whether the discussion on a Census citizenship question over the past year will

 cause some groups to avoid participating. With these complications and policies described

 above, the truncation of the 2020 Census field operations and post-processing is likely to prevent

 enumeration of people in hard to count communities and increase the differential undercount.

 26.     As I noted in EDS’s report from last year’s we cautioned users that even though there is a

 very short time before the Census, the population projections are still subject to change. “We are

 now at a place where the rubber meets the road,” I said. “How well does the Census Bureau and

 the Trump administration put on the greatest mobilization of government resources outside of

 war time? How well will the public respond and answer the Census, given the competing

 focuses of everyday life and the need to utilize the internet? Will the fear of foreign intervention

 also impact the census?” I noted. “Having worked with Census data and estimates since the

 1970s, it is important to remember that major events like Katrina and the 2008 recession each

 changed population growth patterns and that impacted and changed the next apportionment,” I

 said.

 27.     The ore apparent with the low response rates still being identified across the country.

 Because the Census Bureau has had to react to the pandemic that appeared right when the

 counting process was beginning, they initially requested a delay of four months in the reporting

                                                                                                     9
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 requirements in proposed language to Congress. Yet, in the last month the Trump administration

 has pulled back that delay, and instead reinstituted the original reporting requirements of

 December 31, 2020 for the apportionment numbers. As a result, the Bureau has shortened the

 time to find people who have not responded to the census, thinned down the time to process the

 census questionnaires, and cut various procedural processes to check whether the counting

 process is correct.

 28.    Just this morning, the Bureau’s website was showing a nationwide response rate of just

 64.9% as of Saturday evening, August 29th, 2020, their latest estimates. Additionally, they note

 another 16.9% have been enumerated in the follow-up procedure called Non-Response Follow

 Up (NRFU), for a total nationwide enumerated rate of 81.7%.

 29.    But these “enumerated rates” vary greatly by state. Idaho is currently at the highest rate

 of 96.5%, helped greatly from the 27.8% that were found in the NRFU program. The state of

 New Mexico is at the bottom of the list, showing a self-response rate of 55.6%, an enumerated in

 Nonresponse rate of 15.6%, and a total enumerated rate of 71.2%.

 30.    Looking at four of the five states where the last five seats are expected to be allocated,

 those states are also all below the average self-response rate for the nation, which is 64.9 % as of

 August 29, 2020. For example, New York has a self-response rate of 61.0 %, Florida has a self-

 response rate of 61.5%, and Texas has a self-response rate of 60.2%. If the final population

 counts of these three states, that are currently projected to gain one of the last congressional

 seats, are undercounted, by even tens of thousands of people, those states will lose a

 congressional seat to a different state.

 31.    Exhibit 3 in this report is a table of these response rates reported this morning where I

 have sorted the states by the overall enumerated rates. At the bottom of the list are the mostly

 southern states of New Mexico, Georgia, Puerto Rico, Arizona, Alabama, Montana, South

 Carolina, Mississippi, North Carolina, Louisiana, Florida and Texas (listed in order of least

                                                                                                     10
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 enumerated rate to higher). Except for Montana, all of these listed states have higher than

 average concentration of minority racial groups in their population.

 32.    Clearly minority racial groups are being negatively affected disproportionately by the

 challenges of this Census. When one uses the Bureau’s same reporting system to look down at

 the tract level, one can find the lowest self-response rates in areas heavily populated by African-

 Americans (including inner cities), Hispanics (including colonias), and Native America

 communities (reservations). On the other hand, the best self-response rates are in suburban

 communities. Unfortunately, the Bureau does not report the NRFU numbers at the tract level, so

 it is unknown whether that process is successful or not.

 33.    The Bureau’s changes to the timeline for the counting and post-count process will likely

 result in a greater undercount than experienced in prior censuses. Based on my experience and

 knowledge, this will likely have a significant effect on the accuracy of the census, meaning more

 individuals will be missed in certain underperforming states and in hard to count communities.

 There is also a strong potential to impact a number of states in the apportionment process if the

 period for counting and post-processing is truncated to September 30. Furthermore, states use

 Census data in their state legislative redistricting processes, and undercounts of hard to count

 communities can result in the loss of state and local legislative seats for the undercounted areas.


 I declare under penalty of perjury that the foregoing is true and correct.




                                                               Kimball W. Brace

 Executed on August 31, 2020 at Manassas, Virginia.




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              APPENDIX 1
  (Exhibit 1 to Declaration of Kimball W. Brace)
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                                               VITA

                         KIMBALL WILLIAM BRACE
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Kimball Brace is the president of Election Data Services Inc., a consulting firm that specializes
in redistricting, election administration, and the analysis and presentation of census and political
data. Mr. Brace graduated from the American University in Washington, D.C., (B.A., Political
Science) in 1974 and founded Election Data Services in 1977.

Redistricting Consulting
Activities include software development; construction of geographic, demographic, or election
databases; development and analysis of alternative redistricting plans; general consulting, and
onsite technical assistance with redistricting operations.
Congressional and Legislative Redistricting
Arizona Independent Redistricting Commission: Election database, 2001
Arizona Legislature, Legislative Council: Election database, 2001
Colorado General Assembly, Legislative Council: Geographic, demographic, and election
   databases, 1990–91
Connecticut General Assembly
   • Joint Committee on Legislative Management: Election database, 2001; and software,
     databases, general consulting, and onsite technical assistance, 1990–91
   • Senate and House Democratic Caucuses: Demographic database and consulting, 2001

Florida Legislature, House of Rep.: Geographic, demographic, and election databases, 1989–92
Illinois General Assembly
     • Speaker of House and Senate Minority Leader: Software, databases, general consulting,
        and onsite technical assistance, 2000–02,
     • Speaker of House and President of Senate: Software, databases, general consulting, and
        onsite technical assistance, 2018-current, 2009-2012, 1990–92, and 1981-82
Iowa General Assembly, Legislative Service Bureau and Legislative Council: Software,
   databases, general consulting, and onsite technical assistance, 2000–01 and 1990–91
Kansas Legislature: Databases and plan development (state senate and house districts), 1989
Massachusetts General Court
  • Senate Democratic caucus: Election database and general consulting, 2001–02
  • Joint Reapportionment Committees: Databases and plan development (cong,, state
     senate, and state house districts), 1991–93, 2010-2012
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(Redistricting Consulting, cont.)
Michigan Legislature: Geographic, demographic, and election databases, 1990–92; databases and
   plan development (cong., state senate, and state house districts), 1981-82
Missouri Redistricting Commission: General consulting, 1991–92
Commonwealth of Pennsylvania: General consulting, 1992
Rhode Island General Assembly and Reapportionment Commissions
   • Software, databases, plan development, and onsite assistance (cong., state senate, and
     state house districts), 2016- current, 2010-2012, 2001–02 and 1991–92
   • Databases and plan development (state senate districts), 1982-83

State of South Carolina: Plan development and analysis (senate), U.S. Dept. of Justice, 1983–84
Local Government Redistricting
Orange County, Calif.: Plan development (county board), 1991–92
City of Bridgeport, Conn.: Databases and plan development (city council), 2011-2012 and 2002–
    03
Cook County, Ill.: Software, databases, and general consulting (county board), 2010-2012,
   2001–02, 1992–1993, and 1989
Lake County, Ill.: Databases and plan development (county board), 2011 and 1981
City of Chicago, Ill.: Software, databases, general consulting, and onsite technical assistance
    (city wards), 2010-2012, 2001–02 and 1991–92
City of North Chicago, Ill.: Databases and plan development (city council), 1991 and 1983
City of Annapolis, Md.: Databases and plan development (city council), 1984
City of Boston, Mass.: Databases and plan development (city council), 2011-2012, 2001-2002,
    and 1993
City of New Rochelle, N.Y.: Databases and plan development (city council), 1991–92
City of New York, N.Y.: Databases and plan development (city council), 1990–91
Cities of Pawtucket, Providence, East Providence, and Warwick, and town of North Providence,
    R.I.: Databases and plan development (city wards and voting districts), 2011-2012, 2002
City of Woonsocket and towns of Charlestown, Johnston, Lincoln, Scituate and Westerly, R.I.:
    Databases and plan development (voting districts), 2011-2012, 2002; also Westerly 1993
City of Houston, Tex.: Databases and plan development (city council), 1979 — recommended by
    U.S. Department of Justice
City of Norfolk, Va.: Databases and plan development (city council), 1983–84 — for Lawyers’
    Committee for Civil Rights
Virginia Beach, Va.: Databases and plan development (city council), 2011-2012, 2001–02, 1995,
   and 1993
Other Activities
International Foundation for Electoral Systems (IFES) and U.S. Department of State:
    redistricting seminar, Almaty, Kazakhstan, 1995
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Library of Congress, Congressional Research Service: Consulting on reapportionment,
   redistricting, voting behavior and election administration
National Conference of State Legislatures (NCSL): Numerous presentations on variety of
   redistricting and election administration topics, 1980 - current


Election Administration Consulting
Activities include seminars on election administration topics and studies on voting behavior,
   voting equipment, and voter registration systems.

Prince William County, VA:
     2013 – Appointed by Board of County Supervisors to 15 member Task Force on Long Lines
    following 2012 election. Asked and appointed by County’s Electoral Board to be Acting
    General Registrar for 5-month period between full-time Registrars.
     2008 - current – poll worker and now chief judge for various precincts in county
U.S. Election Assistance Commission (EAC): Served as subcontractor to prime contractors who
   compiled survey results from 2008 and 2010 Election Administration and Voting Survey.
U.S. Election Assistance Commission (EAC): Compile, analyze, and report the results of a
   survey distributed to state election directors during FY–2007. Survey results were presented
   in the following reports of the EAC: The Impact of the National Voter Registration Act of
   1993 on the Administration of Elections for Federal Office, 2005–2006, A Report to the
   110th Congress, June 30, 2007; Uniformed and Overseas Citizens Absentee Voting Act
   (UOCAVA), Survey Report Findings, September, 2007; and The 2006 Election
   Administration and Voting Survey, A Summary of Key Findings, December, 2007.
U.S. Election Assistance Commission (EAC): Compile, analyze, and report the results of three
   surveys distributed to state election directors during FY–2005: Election Day, Military and
   Overseas Absentee Ballot (UOCAVA), and Voter Registration (NVRA) Surveys. Survey
   results were presented in the following reports: Final Report of the 2004 Election Day
   Survey, by Kimball W. Brace and Dr. Michael P. McDonald, September 27, 2005; and
   Impact of the National Voter Registration Act of 1993 on the Administration of Elections for
   Federal Office, 2003–2004, A Report to the 109th Congress, June 30, 2005.
Rhode Island Secretary of State: Verification of precinct and district assignment codes in
   municipal registered voter files and production of street files for a statewide voter registration
   database, on-going maintenance of street file, 2004-2006, 2008-2014, 2016-2017.
Rhode Island Secretary of State, State Board of Elections & all cities & towns: production of
   precinct maps statewide, 2012, 2002, 1992
District of Columbia, Board of Elections and Ethics (DCBOEE): Verification of election ward,
   Advisory Neighborhood Commission (ANC), and Single-Member District (SMD)
   boundaries and production of a new street locator, 2003. Similar project, 1993.
Harris County, Tex.: Analysis of census demographics to identify precincts with language
   minority populations requiring bilingual assistance, 2002–03
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(Election Administration Consulting, cont.)

Cook County, Ill., Election Department and Chicago Board of Election Commissioners:
   • Analysis of census demographics to identify precincts with language minority
     populations requiring bilingual assistance, 2019, 2010-2013, 2002–03
   • Study on voting equipment usage and evaluation of punch card voting system, 1997

Chicago Board of Election Commissioners: Worked with Executive Director & staff in
    Mapping Dept. to redraw citywide precincts, eliminate over 600 to save costs, 2011-12

Library of Congress, Congressional Research Service: Nationwide, biannual studies on voter
   registration and turnout rates, 1978–2002
U.S. General Accounting Office (GAO), U.S. Dept. of Justice, and numerous voting equipment
   vendors and media: Data on voting equipment usage throughout the United States, 1980–
   present
Needs assessments and systems requirement analyses for the development of statewide voter
   registration systems:
   • Illinois State Board of Elections: 1997
   • North Carolina State Board of Elections, 1995
   • Secretary of Commonwealth of Pennsylvania, 1996

Federal Election Commission, Office of Election Administration:
   • Study on integrating local voter registration databases into statewide systems, 1995
   • Nationwide workshops on election administration topics, 1979–80
   • Study on use of statistics by local election offices, 1978–79

Cuyahoga County, Ohio, Board of Elections: Feasibility study on voting equipment, 1979
Winograd Commission, Democratic National Committee: Analysis of voting patterns, voter
   registration and turnout rates, and campaign expenditures from 1976 primary elections

Mapping and GIS
Activities include mapping and GIS software development (geographic information systems) for
election administration and updating TIGER/Line files for the decennial census.

2000 Census Transportation Planning Package (CTPP), 1998–99: GIS software for the U.S.
   Department of Transportation to distribute to 400 metropolitan planning organizations
   (MPOs) and state transportation departments for mapping traffic analysis zones (TAZs) for
   the 2000 census; provided technical software support to MPOs
Census 2000, 2010 and 2020 Redistricting Data Program, Block Boundary Suggestion Project
   (Phase 1) and Voting District Project (Phase 2), 1995–99: GIS software and provided soft-
   ware, databases, and technical software support to the following program participants:
    • Alaska Department of Labor
    • Connecticut Joint Committee on Legislative Management
    • Illinois State Board of Elections
    • Indiana Legislative Services Agency
    • Iowa Legislative Service Bureau
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        (Mapping & GIS Support, cont.)
    •   New Mexico Legislative Council Service
    •   Rhode Island General Assembly
    •   Virginia Division of Legislative Services
Developed PRECIS® Precinct Information System—GIS software to delineate voting precinct
   boundaries—and delivered software, databases, and technical software support to the
   following state and local election organizations (with date of installation):
    • Cook County, Ill., Department of Elections (1993)
    • Marion County, Fla., Supervisor of Elections (1995)
    • Berks County Clerk, Penn. (1995)
    • Hamilton County, Ohio, Board of Elections (1997)
    • Brevard County, Fla., Supervisor of Elections (1999)
    • Osceola County, Fla., Supervisor of Elections (1999)
    • Multnomah County, Ore, Elections Division (1999)
    • Chatham County, Ga., Board of Elections (2000)
    • City of Chicago, Ill., Board of Election Commissioners (2000)
    • Mahoning County, Ohio, Board of Elections (2000)
    • Iowa Secretary of State, Election and Voter Registrations Divisions (2001)
    • Woodbury County, Iowa, Elections Department (2001)
    • Franklin County, Ohio, Board of Elections (2001)
    • Cobb County, Ga., Board of Elections and Voter Registration (2002)

Illinois State Board of Elections, Chicago Board of Election Commissioners, and Cook County
    Election Department: Detailed maps of congressional, legislative, judicial districts, 1992
Associated Press: Development of election night mapping system, 1994

Litigation Support
Activities include data analysis, preparation of court documents and expert witness testimony.
Areas of expertise include the census, demographic databases, district compactness and
contiguity, racial bloc voting, communities of interest, and voting systems. Redistricting
litigation activities also include database construction and the preparation of substitute plans.

State of Alabama vs. US Department of Commerce, et al (2019-2020) apportionment &
    citizenship data
NAACP vs. Denise Merrill, CT Secretary of State, et al (2019-2020) state legislative
  redistricting and prisoner populations
Latasha Holloway, et al. v. City of Virginia Beach, VA (2019) city council redistricting
Joseph V. Aguirre vs. City of Placentia, CA (2018-2019), city council redistricting
Davidson, et al & ACLU of Rhode Island vs. City of Cranston, RI (2014-16), city council &
   school committee redistricting with prisoner populations.
Navaho Nation v. San Juan County, UT (2014-17) county commissioner & school board
   districts.
Michael Puyana vs. State of Rhode Island (2012) state legislature redistricting
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(Litigation Support, cont.)
United States of America v. Osceola County, Florida, (2006), county commissioner districts.
Deeds vs McDonnell (2005), Va. Attorney General Recount
Indiana Democratic Party, et al., v. Todd Rokita, et al. (2005), voter identification.
Linda Shade v. Maryland State Board of Elections (2004), electronic voting systems
Gongaley v. City of Aurora, Ill. (2003), city council districts
State of Indiana v. Sadler (2003), ballot design (city of Indianapolis-Marion County, Ind.)
Peterson v. Borst (2002–03), city-council districts (city of Indianapolis-Marion County, Ind.)
New Rochelle Voter Defense Fund v. City of New Rochelle, City Council of New Rochelle, and
   Westchester County Board Of Elections (2003), city council districts (New York)
Charles Daniels and Eric Torres v. City of Milwaukee Common Council (2003), council
   districts (Wisconsin)
The Louisiana House of Representatives v. Ashcroft (2002–03), state house districts
Camacho v. Galvin and Black Political Caucus v. Galvin (2002–03), state house districts
  (Massachusetts)
Latino Voting Rights Committee of Rhode Island, et al., v. Edward S. Inman, III, et al.
    (2002–03), state senate districts
Metts, v. Harmon, Almond, and Harwood, et al. (2002–03), state senate districts (Rhode Island)
Joseph F. Parella, et al. v. William Irons, et al. (2002–03), state senate districts (Rhode Island)
Jackson v. County of Kankakee (2001–02), county commissioner districts (Illinois)
Corbett, et al., v. Sullivan, et al. (2002), commissioner districts (St Louis County, Missouri)
Harold Frank, et al., v. Forest County, et al. (2001–02), county commissioner districts (Wisc.)
Albert Gore, Jr., et al., v. Katherine Harris as Secretary of State, State of Florida, et al., and The
   Miami Dade County Canvassing Board, et al., and The Nassau County Canvassing Board, et
   al., and The Palm Beach County Canvassing Board, et al., and George W. Bush, et al (2000),
   voting equipment design — Leon County, Fla., Circuit Court hearing, December 2, 2000, on
   disputed ballots in Broward, Volusia, Miami-Dade, and Palm Beach counties from the
   November 7, 2000, presidential election.
Barnett v. Daley/PACI v. Daley/Bonilla v. Chicago City Council (1992–98), city wards
Donald Moon, et al. v. M. Bruce Meadows, etc and Curtis W. Harris, et al. (1996–98),
   congressional districts (Virginia)
Melvin R. Simpson, et al. v. City of Hampton, et al. (1996–97), city council districts (Va.)
Vera vs. Bush (1996), Texas redistricting
In the Matter of the Redistricting of Shawnee County Kansas and Kingman, et al. v. Board of
    County Commissioners of Shawnee County, Kansas (1996), commissioner districts
Vecinos de Barrio Uno v. City of Holyoke (1992–96), city council districts (Massachusetts)
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(Litigation Support, cont.)
Torres v. Cuomo (1992–95), congressional districts (New York)
DeGrandy v. Wetherell (1992–94), congressional, senate, and house districts (Florida)
Johnson v. Miller (1994), congressional districts (Georgia)
Jackson, et al v Nassau County Board of Supervisors (1993), form of government (N.Y.)
Gonzalez v. Monterey County, California (1992), county board districts
LaPaille v. Illinois Legislative Redistricting Commission (1992), senate and house districts
Black Political Task Force v. Connolly (1992), senate and house districts (Massachusetts)
Nash v. Blunt (1992), house districts (Missouri)
Fund for Accurate and Informed Representation v. Weprin (1992), assembly districts (N.Y.)
Mellow v. Mitchell (1992), congressional districts (Pennsylvania)
Phillip Langsdon v. Milsaps (1992), house districts (Tennessee)
Smith v. Board of Supervisors of Brunswick County (1992), supervisor districts (Virginia)
People of the State of Illinois ex. rel. Burris v. Ryan (1991–92), senate and house districts
Good v. Austin (1991–92), congressional districts (Michigan)
Neff v. Austin (1991–92), senate and house districts (Michigan)
Hastert v. Illinois State Board of Elections (1991), congressional districts
Republican Party of Virginia et al. v. Wilder (1991), senate and house districts
Jamerson et al. v. Anderson (1991), senate districts (Virginia)
Ralph Brown v. Iowa Legislative Services Bureau (1991), redistricting database access
Williams, et al. v. State Board of Election (1989), judicial districts (Cook County, Ill.)
Fifth Ward Precinct 1A Coalition and Progressive Association v. Jefferson Parish School
    Board (1988–89), school board districts (Louisiana)
Michael V. Roberts v. Jerry Wamser (1987–89), St. Louis, Mo., voting equipment
Brown v. Board of Commissioners of the City of Chattanooga, Tenn. (1988), county
   commissioner districts
Business Records Corporation v. Ransom F. Shoup & Co., Inc. (1988), voting equip. patent
East Jefferson Coalition for Leadership v. The Parish of Jefferson (1987–88), parish council
   districts (Louisiana)
Buckanaga v. Sisseton School District (1987–88), school board districts (South Dakota)
Griffin v. City of Providence (1986–87), city council districts (Rhode Island)
United States of America v. City of Los Angeles (1986), city council districts
Latino Political Action Committee v. City of Boston (1984–85), city council districts
Ketchum v. Byrne (1982–85), city council districts (Chicago, Ill.)
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(Litigation Support, cont.)
State of South Carolina v. United States (1983–84), senate districts — U.S. Dept. of Justice
Collins v. City of Norfolk (1983–84), city council districts (Virginia) — for Lawyers'
   Committee for Civil Rights
Rybicki v. State Board of Elections (1981–83), senate and house districts (Illinois)
Licht v. State of Rhode Island (1982–83), senate districts (Rhode Island)
Agerstrand v. Austin (1982), congressional districts (Michigan)
Farnum v. State of Rhode Island (1982), senate districts (Rhode Island)
In Re Illinois Congressional District Reapportionment Cases (1981), congressional districts

Publications
"EAC Survey Sheds Light on Election Administration", Roll Call, October 27, 2005 (with
   Michael McDonald)
Developing a Statewide Voter Registration Database: Procedures, Alternatives, and General
   Models, by Kimball W. Brace and M. Glenn Newkirk, edited by William Kimberling,
   (Washington, D.C.: Federal Election Commission, Office of Election Administration,
   Autumn 1997).
The Election Data Book: A Statistical Portrait of Voting in America, 1992, Kimball W. Brace,
   ed., (Bernan Press, 1993)
"Geographic Compactness and Redistricting: Have We Gone Too Far?", presented to
   Midwestern Political Science Association, April 1993 (with D. Chapin and R. Niemi)
"Whose Data is it Anyway: Conflicts between Freedom of Information and Trade Secret
  Protection in Redistricting", Stetson University Law Review, Spring 1992 (with D. Chapin
  and W. Arden)
"Numbers, Colors, and Shapes in Redistricting," State Government News, December 1991
   (with D. Chapin)
"Redistricting Roulette," Campaigns and Elections, March 1991 (with D. Chapin)
"Redistricting Guidelines: A Summary", presented to the Reapportionment Task Force,
   National Conference on State Legislatures, November 9, 1990 (with D. Chapin and J.
   Waliszewski)
"The 65 Percent Rule in Legislative Districting for Racial Minorities: The Mathematics of
   Minority Voting Equality," Law and Policy, January 1988 (with B. Grofman, L. Handley,
   and R. Niemi)
"Does Redistricting Aimed to Help Blacks Necessarily Help Republicans?" Journal of Politics,
   February 1987 (with B. Grofman and L. Handley)
"New Census Tools," American Demographics, July/August 1980
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Professional Activities

Member, Task Force on Long Lines in 2012 Election, Prince William County, VA
Member, 2010 Census Advisory Committee, a 20-member panel advising the Director of the
  Census on the planning and administration of the 2010 census.
Delegate, Second Trilateral Conference on Electoral Systems (Canada, Mexico, and United
   States), Ontario, Canada, 1995; and Third Trilateral Conference on Electoral Systems,
   Washington, D.C., 1996
Member, American Association of Political Consultants
Member, American Association for Public Opinion Research
Member, American Political Science Association
Member, Association of American Geographers, Census Advisory Committee
Member Board of Directors, Association of Public Data Users
Member, National Center for Policy Alternatives, Voter Participation Advisory Committee
Member, Urban and Regional Information Systems Association



Historical Activities
Member, Manassas Battlefield Trust Board Member, 2018 -- current
Member, Historical Commission, Prince William County, VA., 2015 – current. Elected
  Chairman in 2017, re-elected 2018
Member of Executive Committee & head of GIS Committee, Bull Run Civil War Round
  Table, Centerville, VA. 2015 – current
Member, Washington Capitals Fan Club, Executive Board 2017 -- current

February, 2020
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              APPENDIX 2
  (Exhibit 2 to Declaration of Kimball W. Brace)
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[Type here]

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                               FOR IMMEDIATE RELEASE
                                                                         Date: December 30, 2019
                                                                       Contact: Kimball W. Brace
                                                          Tel.: (202) 789–2004 or (703) 580-7267
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                                                         Website: www.electiondataservices.com

                Montana Gains California’s Seat
               With New 2019 Census Estimates;
            But Alabama & Ohio to also lose by 2020

New Census Bureau population estimates for 2019 released today shows a change of one more
seat between two states from last year’s study generated by Election Data Services, Inc. on
which states would gain or lose congressional seats if the current estimate numbers were used for
apportionment in 2019. But projecting these numbers to 2020, using several different methods,
leads to more states being impacted by the decennial census scheduled to take place in just four
months. These numbers could also be majorly impacted by how well the Commerce Department
and Census Bureau conducts the census, how well the American public responds to this decen-
nial exercise, the first where major components will be conducted via the internet, and whether
the discussion on citizenship over the past year will cause some groups to avoid participating. A
changed practice on how to count the military overseas could also change the final apportion-
ment when it is announced December 31, 2020.

The Bureau’s 2019 total population estimates show that now 15 states will be impacted by
changes in their congressional delegation if these new numbers were used for apportionment to-
day. The state of Montana joins the previously indicated states of Arizona, Colorado, Florida,
North Carolina, and Oregon to each gain a single seat while the state of Texas is now shown to
gain a second seat with the new data. The state of California joins the states of Illinois, Michi-
gan, Minnesota, New York, Pennsylvania, Rhode Island, and West Virginia to lose a seat in
Congress using the new data. A map of the 2019 numbers is attached.

The new numbers, however, reflect subtle changes taking place across the nation in birth and
death rates and resulting total population numbers that become magnified when the information
is projected forward to coincide with the taking of the Census on April 1, 2020. Election Data
Services created a variety of different methodologies to project the 2019 data forward nine
months (from the July1, 2019 date of the Census estimates) to April 1, 2020 (several short-term
projection methods for the trend occurring in 2018-2019, and 2017-2019, a middle term

                       “Experts in Elections         Redistricting & GIS”
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methodology using the 2015-2019 trend, and a long-term projection for 2011-2019). The differ-
ent methodologies benefit some states and disadvantage others in the “musical-chairs” effort of
allocating 435 seats to the 50 states. All the methods would add a second seat for Florida and a
third seat for Texas, to the list of states noted above that will gain one or more seats by 2020.
The list of losing states will expand to also include Alabama and Ohio, by the time the Census
is taken in 2020. A map showing the 2020 projected apportionment using the 2018-2019 trend
is attached. Because all the projection models produce the same state overall results in seats as
the 2018-2019 trend map, only the tables of the calculations for the different projection models
are attached so that how close states are to changes can be observed.

The new 2019 data and all projections forward to 2020 now confirms that California will lose a
congressional district in 2020. Our 2018 study first picked up the possibility that California
could lose a congressional district for the first time in their nearly 160-year history. The new
2019 numbers from the Bureau indicate the state would lose that seat by 98,709 people but pro-
jecting the data forward to 2020 shows the state further away from potentially keeping that seat,
losing it by over 300,000 people in 2020.

While the 2019 Census estimate numbers show Alabama keeping their seventh seat by a slim
margin of just 18,516 people, projecting the data forward to 2020 would find the state losing the
seventh seat by only 10,072 to 19,074 people, depending on the projection model utilized. All
of the projection models find Alabama just missing the last seat to be apportioned, coming in at
seat #436 when there are only 435 seats to hand out (a cut-off mark established in 1910).

The state of Montana is just barely able to reverse previous decades of population shifts when it
went from two seats down to one in 1990. For 2020 the state is projected to go back to having
two seats, but that gain of a second seat is because the state occupies the dubious distinction of
obtaining seat #435, the last one to be apportioned. Election Data Services calculations show
Montana getting that additional seat by only between 2,402 and 4,163 people to spare; a very
close margin.

Rhode Island is also a state with an extremely close margin. For most of the decade our studies
have projected that Rhode Island would lose their second seat by the end of the decade and the
new numbers confirm that projection. But their margin has gotten tighter with the new data. For
the past several years we saw that Rhode Island would lose that second seat by more than
25,000 people. But this new data shows the state missing the seat by only 14,539 residents.

Previous Election Data Services studies have hinted that the states of Illinois and New York
might be in a position to each lose a second seat by 2020. However, these new Census numbers
seem to indicate this will not be the case, with both states just losing a single seat each.

The state of Minnesota is also close to the margin of likely losing a seat in Congress. All of the
projections place the state at position #437, having lost their last seat (their 8th) by between 6,740
people (the 2019 estimate) to around 21,000 people. Minnesota’s state demographer has indi-
cated that recent influx of people to the state has boosted their numbers and it is likely to have
had an impact on reapportionment.
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Using any methodology, the population projections points toward a ten (10) seat change over 17
states across the nation by year 2020. States that will gain single seats include Arizona, Colo-
rado, Montana, North Carolina, and Oregon, while Florida is set to gain two congressional
districts and Texas would gain three seats. Single seat losses will again occur in the Midwest
and Northeast sections of the nation, where Alabama, California, Illinois, Michigan, Minne-
sota, New York, Ohio, Pennsylvania, Rhode Island and West Virginia would each lose a seat.
All other states would keep the same number of representatives they were awarded in December
2010 when the official 2010 Census numbers were released.

In table form, the gainers and losers are:

     States Gaining Districts (7)                 States Losing Districts (10)

     Arizona +1 (from 9 to 10)                  Alabama -1 (from 7 to 6)
     Colorado +1 (from 7 to 8)                  California -1 (from 53 to 52)
     Florida +2 (from 27 to 29)                 Illinois -1 (from 18 to 17)
     Montana +1 (from At-large to 2)            Michigan -1 (from 14 to 13)
     North Carolina +1 (from 13 to 14)          Minnesota -1 (from 8 to 7)
     Oregon +1 (from 5 to 6)                    New York -1 (from 27 to 26)
     Texas +3 (from 36 to 39)                   Ohio -1 (from 16 to 15)
                                                Pennsylvania -1 (from 18 to 17)
                                                Rhode Island -1 (from 2 to 1)
                                                West Virginia -1 (from 3 to 2)

With only four months until Census Day, many states have appropriated funds to help send a
message to their constituents about the importance of participating in the Censusi. Many of these
states are on the edge of gaining or losing a seat in the apportionment process, but there are some
notable exceptions. For example, Texas has not appropriated any funds for Complete Count ef-
forts, and yet whether they stand to gain only two or maybe three additional seats may depend on
how good the counting is conducted in the state. This could also be impacted by the reaction to
the citizenship issue that has become more of a focus in the past year. Florida has also failed to
appropriate any funds for Complete Count efforts in 2020, but they are more firm in the projec-
tion of receiving two additional seats in 2020. Thus, the two largest gaining states in number of
seats are those that didn’t spend their own money to help the counting process.

Since 1941, by law the number of seats in the U.S. House of Representatives has been capped at
435. As a result, there has always been interest in finding which states are close to that magic
bubble, either just gaining their last seat, or just missing their next seat. The following table
shows the results of the 2019 population estimates, as well as one of the short-term trend meth-
odology calculations (2018-2019) for the seats within five positions of the 435 cut off.
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                               2019 Reapportionment Analysis
             2019 Population Estimates                        2020 Projections
                                                     (using 2018-2019 short-term trend)
       Last Five Seats     Margin of Gain           Last Five Seats      Margin of Gain
       431 Arizona (10th)        128,294            431 Illinois (17th))        126,052
       432 New York (26th)       237,376            432 New York (26th)          61,279
       433 Alabama(7th)           18,516            433 Texas (39th)             79,742
       434 Montana (2nd)           2,856            434 Montana (2nd)              2,402
       435 Ohio (16th)            12,508            435 Florida (29th)           44,285


                               2019 Reapportionment Analysis
             2019 Population Estimates                        2020 Projections
                                                     (using 2018-2019 short-term trend)

       Next Seats            Margin of Loss         Next Seats            Margin of Loss
       436 Florida (29th)            23,006         436 Alabama (7th)              10,072
       437 Minnesota (8th)            6,740         437 Minnesota (8th))           21,992
       438 Texas (39th)             51,004          438 Ohio (16th)                74,135
       439 California (53rd)         98,709         439 California (53rd)        344,367
       440 Rhode Island (2nd)         7,703         440 Rhode Island (2nd)         14,539



The Census Bureau’s yearly release of population estimates also results in a revision of previous
year estimates. While Election Data Services has traditionally reflected those revisions in our
projection methodology, we have created a new apportionment table that shows the apportion-
ment results for each year in the decade based upon those revised numbers. The table, entitled
“2020 Apportionment Calculations based on different trend lines coming from the 2019 Census
Bureau Estimates” is attached to this press release. The table shows consistent gains and losses
of seats over the entire decade with the new data. The table also includes a chart of where seats
# 430 through # 440 would be assigned to states in each projection.

Kimball Brace, President of Election Data Services, Inc. cautioned users that even though there
is a very short time before the Census, the population projections are still subject to change.
“We are now at a place where the rubber meets the road. How well does the Census Bureau and
the Trump administration put on the greatest mobilization of government resources outside of
war time? How well will the public respond and answer the Census, given the competing fo-
cuses of everyday life and the need to utilize the internet? Will the fear of foreign intervention
also impact the census?” Brace noted. “Having worked with Census data and estimates since
the 1970s, it is important to remember that major events like Katrina and the 2008 recession each
changed population growth patterns and that impacted and changed the next apportionment,” he
said.
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Brace also noted that major changes in the counting process are in the works for 2020 and that
reduced budget funding could impact those plans. “History can also be a guide, recalling that the
1920 apportionment was cancelled because the numbers showed for the first time that more peo-
ple resided in urban areas than rural areas” said Brace. “I have had my share of nightmares that a
failed Census process could lead to unreliable numbers and a repeat of 1920.”

Because congressional apportionment also impacts the Electoral College and the vote for Presi-
dent, Election Data Services took the 2020 projections for each state and applied the Presidential
election results from the past five Presidential contests to determine the Electoral College out-
comes in the past 16 years. The study shows that none of the presidential contests would have
elected a different presidential candidate using the new apportionment counts but they would
have been more Republican in nature. For example, in 2016 President Trump would have gained
two additional electoral college votes under the new apportionment projections. In 2012 Presi-
dent Obama would still have won the Electoral College, but with four less votes (328 vs 332)
than he won at the time of the voting. The biggest change would have occurred in the 2000 pres-
idential election where George Bush would have gained an additional 20 electoral votes had the
new 2020 apportionment projections determined the number of congressional seats in each state.

The 2016 Electoral College was muddled because 7 electors voted for a different candidate than
what they had pledged based on the vote totals. As a result, the overall change in candidate votes
based on the new apportionment numbers shows just two vote difference in the bottom line re-
sults. President elect Trump’s ability to carry states that will be losing congressional seats in
2020 also contributed to a reversal of the pattern depicted in previous elections.

It should be noted that the 2020 Presidential election and resulting Electoral College will occur
before the results of the 2020 Census are released by December 31, 2020. Therefore, the Elec-
toral College results in 2020 will be governed by the state’s apportionment allocation as they
exist today, having been first determined in 2011. The first time the new 2020 apportionment
results will be utilized will be the 2024 Presidential election. Election Data Services, Inc. has
also worked with the website 270ToWin, who has built an interactive map of the these new ap-
portionment results where users can adjust state outcomes to discover Electoral College
outcomes for the presidential elections back to 2000.

Major weather events have also affected apportionment. The Census Bureau’s estimated popula-
tions released for 2005 showed Louisiana would keep all their congressional districts that
decade. Even the Bureau’s own projections for 2010 released that same year showed Louisiana
staying the same. Then hurricane Katrina hit Louisiana at the end of August 2005 (after the date
of the population estimates). Devastation and population loss impacted New Orleans in a major
way, and when the Bureau’s 2006 population estimates were released Louisiana was looking at
losing a congressional seat. That was ultimately confirmed when the 2010 Census was taken,
and state data was released at the end of that year.

As Election Data Services, Inc. noted last year in the 2017 study, the year of 2017 saw 18 hurri-
canes and tropical storms, three of which had a potential of impact on population movements in
the United States. Two of these storms: Irma (impacting Miami and the Florida Gulf Coast), and
Maria (which devastated Puerto Rico)) affected Florida and the new population estimates reflect
that fact. Last years study showed Florida was 366,735 people away from gaining a third seat.
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The 2019 data shows the state is only 172,169 people away from a third additional seat, an im-
provement of nearly 200,000 people.

The 2019 population estimates have not been statistically adjusted for any known undercount
that may take place when the Census is conducted. In addition, no estimates were provided for
U.S. military personnel overseas. This component has in the past been counted by the Census
Bureau and allocated to the states based on administrative records retained by the military. Over-
seas military personnel have been a factor in the apportionment formula for the past several
decades, including the switching of the final district in 2000 that went from Utah to North Car-
olina.

For 2020 the Census Bureau has changed the “residency rules” for counting the military by cre-
ating a distinction between personnel who are deployed overseas (usually for short periods of
time) compared to those who are stationed or assigned overseas (frequently for longer periods of
time). The Bureau will use DOD’s administrative records to count deployed personnel at their
usual residence in the US for both apportionment and redistricting purposes (they will be embed-
ded within the state’s resident population counts). On the other hand, personnel who are
stationed or assigned overseas will be counted to their “home state of record” for apportionment
purposes only and will show up as part of a state’s total “overseas count” when the Bureau re-
leases the final and official apportionment data by December, 31, 2020. Military sources have
told the Census Bureau that of all overseas military, approximately 15% are deployed personnel
and 85% are stationed or assigned overseas.

Past apportionment studies by Election Data Services, Inc. can be found at https://www.elec-
tiondataservices.com/reapportionment-studies/. A historical chart on the number of districts each
state received each decade from 1789 to current is also available at this web address and linkable
at https://www.electiondataservices.com/wp-content/uploads/2014/10/CD-apportionment-1789-
2010.pdf.

Election Data Services Inc. is a political consulting firm that specializes in redistricting, election
administration, and the analysis of census and political data. Election Data Services, Inc. con-
ducts the congressional apportionment analyses with each annual release of the census
population estimates. For more information about the reapportionment analysis, contact Kimball
Brace (703-580-7267 or 202-789-2004 or kbrace@electiondataservices.com).

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    National Conference of State Legislatures reports 26 states have appropriated funds for Census counting.
http://www.ncsl.org/research/redistricting/2020-census-resources-and-legislation.aspx
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                                                    2019 Population Estimates 2019 Apportionment

2019 Population Estimates, Generated by Census Bureau 12/30/2019


                                          Compare                                     Last Seat Next Seat
State                     Population        To    Seats Change Gain a Seat Lose a Seat Given       At     Average Size Size Rank
Alabama                       4,903,185         7        7     0      743,187    18,516     433        502       700,455         43
Alaska                          731,545         1        1     0                          at large     637       731,545         34
Arizona                       7,278,717         9       10     1      634,842   128,294     431        472       727,872         37
Arkansas                      3,017,804         4        4     0      356,549   406,839     378        490       754,451         24
California                   39,512,223        53       52    -1       98,709   697,431     430        439       759,850         20
Colorado                      5,758,736         7        8     1      643,648   118,406     428        487       719,842         39
Connecticut                   3,565,287         5        5     0      567,434   194,546     413        507       713,057         40
Delaware                        973,764         1        1     0                          at large     477       973,764          2
Florida                      21,477,737        27       28     1       23,006   753,842     421        436       767,062         15
Georgia                      10,617,423        14       14     0      316,729   449,174     419        446       758,387         22
Hawaii                        1,415,872         2        2     0      432,337   349,950     330        565       707,936         41
Idaho                         1,787,065         2        2     0       61,144   721,143     262        449       893,533          4
Illinois                     12,671,821        18       17    -1      527,032   241,139     429        454       745,401         29
Indiana                       6,732,219         9        9     0      425,864   336,686     417        465       748,024         28
Iowa                          3,155,070         4        4     0      219,283   544,105     362        468       788,768          9
Kansas                        2,913,314         4        4     0      461,039   302,349     393        505       728,329         36
Kentucky                      4,467,673         6        6     0      422,229   339,375     402        474       744,612         30
Louisiana                     4,648,794         6        6     0      241,108   520,496     390        459       774,799         11
Maine                         1,344,212         2        2     0      503,997   278,290     344        597       672,106         46
Maryland                      6,045,680         8        8     0      356,704   405,350     407        462       755,710         23
Massachusetts                 6,892,503         9        9     0      265,580   496,970     405        451       765,834         16
Michigan                      9,986,857        14       13    -1      192,285   572,888     411        442       768,220         13
Minnesota                     5,639,632         8        7    -1        6,740   754,963     379        437       805,662          6
Mississippi                   2,976,149         4        4     0      398,204   365,184     385        493       744,037         31
Missouri                      6,137,428         8        8     0      264,956   497,098     399        456       767,179         14
Montana                       1,068,778         1        2     1      779,431     2,856     434        734       534,389         50
Nebraska                      1,934,408         3        3     0      679,355    88,177     418        586       644,803         47
Nevada                        3,080,156         4        4     0      294,197   469,191     371        476       770,039         12
New Hampshire                 1,359,711         2        2     0      488,498   293,789     339        589       679,856         45
New Jersey                    8,882,190        12       12     0      541,864   222,598     426        464       740,183         32
New Mexico                    2,096,829         3        3     0      516,934   250,598     387        542       698,943         44
New York                     19,453,561        27       26    -1      537,876   237,376     432        444       748,214         27
North Carolina               10,488,084        13       14     1      446,068   319,835     423        455       749,149         26
North Dakota                    762,062         1        1     0                          at large     613       762,062         18
Ohio                         11,689,100        16       16     0      754,898    12,508     435        466       730,569         35
Oklahoma                      3,956,971         5        5     0      175,750   586,230     374        457       791,394          8
Oregon                        4,217,737         5        6     1      672,165    89,439     427        508       702,956         42
Pennsylvania                 12,801,989        18       17    -1      396,864   371,307     424        447       753,058         25
Rhode Island                  1,059,361         2        1    -1                          at large     440      1,059,361         1
South Carolina                5,148,714         7        7     0      497,658   264,045     415        478       735,531         33
South Dakota                    884,659         1        1     0                          at large     524       884,659          5
Tennessee                     6,829,174         9        9     0      328,909   433,641     409        458       758,797         21
Texas                        28,995,881        36       38     2       51,004   733,864     425        438       763,050         17
Utah                          3,205,958         4        4     0      168,395   594,993     355        460       801,490          7
Vermont                         623,989         1        1     0                          at large     729       623,989         48
Virginia                      8,535,519        11       11     0      133,350   630,429     404        441       775,956         10
Washington                    7,614,893        10       10     0      298,666   464,470     410        452       761,489         19
West Virginia                 1,792,147         3        2    -1       56,062   726,225     261        448       896,074          3
Wisconsin                     5,822,434         8        8     0      579,950   182,104     422        480       727,804         38
Wyoming                         578,759         1        1     0                          at large     781       578,759         49
Washington DC                   705,749        0

                              328,239,523              435                                           Median =    751,104
Other Inputs:         Seats to Apportion                                                              Min =      534,389
                  435 Max Seats to Calculate                                                          Max =     1,059,361
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                                                   2020 Population Projections and Apportionment

2020 Projections (short term 2018-2019 change) based on 2019 Population Estimates, Generated by Census Bureau 12/30/2019


                                                Compare                                      Last Seat Next Seat
State                       Population            To    Seats Change Gain a Seat Lose a Seat  Given       At     Average Size Size Rank
Alabama                           4,914,850       7        6      -1       10,072     761,044     371        436       819,142         6
Alaska                              728,863       1        1       0                            at large     640       728,863        38
Arizona                           7,370,763       9       10       1      599,470     176,160     425        471       737,076        36
Arkansas                          3,023,873       4        4       0      374,646     396,776     379        489       755,968        24
California                       39,550,248       53      52      -1      344,367     495,632     430        439       760,582        22
Colorado                          5,809,922       7        8       1      638,314     134,743     426        485       726,240        40
Connecticut                       3,560,620       5        5       0      601,698     169,052     416        508       712,124        41
Delaware                            980,031       1        1       0                            at large     475       980,031         2
Florida                          21,654,726       27      29       2      760,045      44,285     435        447       746,715        29
Georgia                          10,697,948       14      14       0      314,512     466,873     417        446       764,139        20
Hawaii                            1,412,343       2        2       0      449,103     339,835     334        572       706,172        43
Idaho                             1,815,033       2        2       0       46,412     742,526     261        443       907,517         3
Illinois                         12,633,538       18      17      -1      659,841     126,052     431        460       743,149        32
Indiana                           6,759,912       9        9       0      449,436     324,863     415        464       751,101        27
Iowa                              3,159,919       4        4       0      238,600     532,822     362        468       789,980        10
Kansas                            2,914,781       4        4       0      483,738     287,684     395        507       728,695        39
Kentucky                          4,472,570       6        6       0      452,352     318,764     402        478       745,428        31
Louisiana                         4,640,641       6        6       0      284,281     486,835     392        461       773,440        14
Maine                             1,348,093       2        2       0      513,353     275,585     342        596       674,047        46
Maryland                          6,053,101       8        8       0      395,136     377,921     409        462       756,638        23
Massachusetts                     6,899,915       9        9       0      309,433     464,866     406        453       766,657        18
Michigan                          9,988,946       14      13      -1      263,096     516,811     413        444       768,380        17
Minnesota                         5,664,818       8        7      -1       21,992     749,969     377        437       809,260         8
Mississippi                       2,972,502       4        4       0      426,017     345,404     386        497       743,125        33
Missouri                          6,149,312       8        8       0      298,924     474,133     400        457       768,664        15
Montana                           1,074,909       1        2       1      786,537       2,402     434        735       537,455        50
Nebraska                          1,941,034       3        3       0      691,448      83,395     418        587       647,011        47
Nevada                            3,120,458       4        4       0      278,061     493,361     369        473       780,115        11
New Hampshire                     1,364,417       2        2       0      497,029     291,909     339        589       682,209        45
New Jersey                        8,879,315       12      12       0      612,232     166,218     429        465       739,943        35
New Mexico                        2,099,901       3        3       0      532,581     242,263     387        542       699,967        44
New York                         19,396,195       27      26      -1      738,416      61,279     432        449       746,007        30
North Carolina                   10,568,755       13      14       1      443,705     337,679     421        451       754,911        25
North Dakota                        765,064       1        1       0                            at large     612       765,064        19
Ohio                             11,698,680       16      15      -1       74,135     708,742     410        438       779,912        12
Oklahoma                          3,969,576       5        5       0      192,743     578,008     374        456       793,915         9
Oregon                            4,244,856       5        6       1      680,066      91,050     428        505       707,476        42
Pennsylvania                     12,802,789       18      17      -1      490,590     295,303     427        450       753,105        26
Rhode Island                      1,060,167       2        1      -1                            at large     440      1,060,167        1
South Carolina                    5,197,747       7        7       0      489,063     282,898     412        474       742,535        34
South Dakota                        889,160       1        1       0                            at large     525       889,160         5
Tennessee                         6,872,698       9        9       0      336,649     437,649     408        458       763,633        21
Texas                            29,274,825       36      39       3      740,080      79,742     433        442       750,637        28
Utah                              3,245,917       4        4       0      152,602     618,820     350        454       811,479         7
Vermont                             623,712       1        1       0                            at large     731       623,712        48
Virginia                          8,561,297       11      11       0      169,656     607,364     403        441       778,300        13
Washington                        7,683,987       10      10       0      286,246     489,384     407        448       768,399        16
West Virginia                     1,783,100       3        2      -1       78,346     710,593     264        452       891,550         4
Wisconsin                         5,833,734       8        8       0      614,502     158,555     424        483       729,217        37
Wyoming                             579,629       1        1       0                            at large     782       579,629        49
Washington DC                       708,919        0

                                  329,418,113             435                                              Median =    754,008
Other Inputs:         Seats to Apportion                                                                    Min =      537,455
                  435 Max Seats to Calculate                                                                Max =     1,060,167
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                                                   2020 Population Projections and Apportionment

2020 Projections (short term 2017-2019 change) based on 2019 Population Estimates, Generated by Census Bureau 12/30/2019


                                                Compare                                      Last Seat Next Seat
State                       Population            To    Seats Change Gain a Seat Lose a Seat  Given       At     Average Size Size Rank
Alabama                           4,914,010       7        6      -1       12,184     760,914     372        436       819,002         6
Alaska                              728,521       1        1       0                            at large     640       728,521        39
Arizona                           7,369,666       9       10       1      602,627     176,291     426        471       736,967        36
Arkansas                          3,024,010       4        4       0      375,387     397,361     379        490       756,002        24
California                       39,570,095       53      52      -1      334,826     522,150     430        439       760,963        22
Colorado                          5,815,246       7        8       1      634,656     141,036     425        485       726,906        40
Connecticut                       3,562,290       5        5       0      601,104     171,301     416        508       712,458        41
Delaware                            980,229       1        1       0                            at large     475       980,229         2
Florida                          21,675,262       27      29       2      745,300      68,512     433        447       747,423        29
Georgia                          10,696,628       14      14       0      318,677     467,300     417        446       764,045        20
Hawaii                            1,412,696       2        2       0      449,231     340,371     334        572       706,348        43
Idaho                             1,814,121       2        2       0       47,806     741,797     261        444       907,061         3
Illinois                         12,632,029       18      17      -1      664,784     126,679     431        460       743,061        32
Indiana                           6,760,331       9        9       0      450,878     326,382     415        464       751,148        27
Iowa                              3,160,162       4        4       0      239,235     533,513     362        468       790,040        10
Kansas                            2,915,040       4        4       0      484,357     288,392     395        507       728,760        38
Kentucky                          4,473,470       6        6       0      452,724     320,373     402        478       745,578        31
Louisiana                         4,640,670       6        6       0      285,525     487,573     392        461       773,445        14
Maine                             1,347,838       2        2       0      514,089     275,513     343        597       673,919        46
Maryland                          6,053,889       8        8       0      396,013     379,679     409        462       756,736        23
Massachusetts                     6,904,829       9        9       0      306,381     470,880     406        453       767,203        18
Michigan                          9,992,018       14      13      -1      262,673     521,500     413        443       768,617        17
Minnesota                         5,667,521       8        7      -1       20,758     753,511     377        437       809,646         8
Mississippi                       2,971,533       4        4       0      427,864     344,884     386        497       742,883        33
Missouri                          6,149,020       8        8       0      300,882     474,810     400        457       768,628        16
Montana                           1,074,984       1        2       1      786,943       2,659     435        735       537,492        50
Nebraska                          1,941,398       3        3       0      691,764      84,077     418        587       647,133        47
Nevada                            3,123,035       4        4       0      276,362     496,386     368        473       780,759        11
New Hampshire                     1,363,841       2        2       0      498,086     291,516     339        589       681,920        45
New Jersey                        8,880,940       12      12       0      613,059     169,331     429        465       740,078        35
New Mexico                        2,098,725       3        3       0      534,436     241,405     387        543       699,575        44
New York                         19,402,911       27      26      -1      736,901      71,298     432        449       746,266        30
North Carolina                   10,572,293       13      14       1      443,011     342,965     421        451       755,164        25
North Dakota                        764,757       1        1       0                            at large     612       764,757        19
Ohio                             11,700,172       16      15      -1       75,684     712,111     410        438       780,011        12
Oklahoma                          3,966,654       5        5       0      196,740     575,666     374        458       793,331         9
Oregon                            4,246,026       5        6       1      680,168      92,930     428        505       707,671        42
Pennsylvania                     12,807,376       18      17      -1      489,438     302,025     427        450       753,375        26
Rhode Island                      1,060,749       2        1      -1                            at large     440      1,060,749        1
South Carolina                    5,197,719       7        7       0      490,560     283,709     411        474       742,531        34
South Dakota                        889,140       1        1       0                            at large     525       889,140         5
Tennessee                         6,875,125       9        9       0      336,085     441,175     408        456       763,903        21
Texas                            29,265,114       36      39       3      757,545      75,018     434        442       750,388        28
Utah                              3,246,633       4        4       0      152,765     619,984     350        455       811,658         7
Vermont                             623,856       1        1       0                            at large     731       623,856        48
Virginia                          8,562,723       11      11       0      170,486     610,148     403        441       778,429        13
Washington                        7,688,570       10      10       0      283,722     495,196     407        448       768,857        15
West Virginia                     1,782,953       3        2      -1       78,974     710,629     264        452       891,477         4
Wisconsin                         5,834,594       8        8       0      615,308     160,384     424        483       729,324        37
Wyoming                             578,695       1        1       0                            at large     783       578,695        49
Washington DC                       709,879        0

                                  329,489,985             435                                              Median =    754,269
Other Inputs:         Seats to Apportion                                                                    Min =      537,492
                  435 Max Seats to Calculate                                                                Max =     1,060,749
                   75 States
                   50
        Include




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                                                   2020 Population Projections and Apportionment

2020 Projections (mid- term 2015-2019 change) based on 2019 Population Estimates, Generated by Census Bureau 12/30/2019


                                                Compare                                      Last Seat Next Seat
State                       Population            To    Seats Change Gain a Seat Lose a Seat  Given       At     Average Size Size Rank
Alabama                           4,912,817       7        6      -1       19,074     760,729     372        436       818,803         6
Alaska                              730,438       1        1       0                            at large     638       730,438        37
Arizona                           7,368,448       9       10       1      613,064     176,821     427        471       736,845        36
Arkansas                          3,025,358       4        4       0      377,971     399,347     379        490       756,339        24
California                       39,625,332       53      52      -1      325,736     586,871     430        439       762,026        22
Colorado                          5,819,773       7        8       1      637,588     146,941     425        485       727,472        40
Connecticut                       3,561,218       5        5       0      606,991     171,053     415        508       712,244        41
Delaware                            980,071       1        1       0                            at large     475       980,071         2
Florida                          21,730,551       27      29       2      715,938     129,049     432        447       749,329        29
Georgia                          10,703,281       14      14       0      324,762     476,437     417        446       764,520        19
Hawaii                            1,414,718       2        2       0      449,362     342,654     334        570       707,359        43
Idaho                             1,814,667       2        2       0       49,413     742,603     261        444       907,333         3
Illinois                         12,637,252       18      17      -1      674,939     134,938     431        460       743,368        33
Indiana                           6,755,866       9        9       0      463,683     323,479     416        465       750,652        28
Iowa                              3,161,536       4        4       0      241,793     535,525     362        468       790,384        10
Kansas                            2,914,122       4        4       0      489,206     288,111     395        507       728,531        39
Kentucky                          4,475,565       6        6       0      456,326     323,477     402        478       745,927        31
Louisiana                         4,645,835       6        6       0      286,056     493,748     392        461       774,306        14
Maine                             1,347,239       2        2       0      516,841     275,174     344        598       673,619        46
Maryland                          6,057,065       8        8       0      400,296     384,233     409        463       757,133        23
Massachusetts                     6,911,196       9        9       0      308,353     478,809     406        452       767,911        18
Michigan                          9,997,254       14      13      -1      269,296     529,036     414        443       769,020        16
Minnesota                         5,670,032       8        7      -1       24,826     757,215     377        437       810,005         8
Mississippi                       2,973,848       4        4       0      429,480     347,838     386        497       743,462        32
Missouri                          6,149,879       8        8       0      307,482     477,047     400        456       768,735        17
Montana                           1,076,227       1        2       1      787,853       4,163     435        735       538,113        50
Nebraska                          1,942,679       3        3       0      693,527      85,810     418        587       647,560        47
Nevada                            3,123,107       4        4       0      280,221     497,097     369        473       780,777        11
New Hampshire                     1,364,168       2        2       0      499,912     292,104     340        589       682,084        45
New Jersey                        8,884,864       12      12       0      620,113     175,371     429        466       740,405        35
New Mexico                        2,098,247       3        3       0      537,959     241,378     388        543       699,416        44
New York                         19,416,240       27      26      -1      746,863      89,321     433        449       746,778        30
North Carolina                   10,577,560       13      14       1      450,483     350,716     422        451       755,540        25
North Dakota                        763,577       1        1       0                            at large     614       763,577        21
Ohio                             11,702,603       16      15      -1       86,871     717,210     410        438       780,174        12
Oklahoma                          3,965,980       5        5       0      202,229     575,815     375        458       793,196         9
Oregon                            4,257,506       5        6       1      674,385     105,418     426        502       709,584        42
Pennsylvania                     12,805,211       18      17      -1      506,979     302,898     428        450       753,248        26
Rhode Island                      1,059,981       2        1      -1                            at large     440      1,059,981        1
South Carolina                    5,199,387       7        7       0      495,471     286,570     412        474       742,770        34
South Dakota                        890,616       1        1       0                            at large     526       890,616         5
Tennessee                         6,875,411       9        9       0      344,138     443,024     408        457       763,935        20
Texas                            29,297,864       36      39       3      759,514     114,857     434        442       751,227        27
Utah                              3,251,140       4        4       0      152,189     625,129     350        455       812,785         7
Vermont                             623,759       1        1       0                            at large     731       623,759        48
Virginia                          8,568,766       11      11       0      174,542     618,123     404        441       778,979        13
Washington                        7,704,829       10      10       0      276,683     513,202     407        448       770,483        15
West Virginia                     1,783,044       3        2      -1       81,036     710,980     266        453       891,522         4
Wisconsin                         5,834,087       8        8       0      623,274     161,255     424        483       729,261        38
Wyoming                             577,489       1        1       0                            at large     785       577,489        49
Washington DC                       711,695        0

                                  329,739,397             435                                              Median =    754,394
Other Inputs:         Seats to Apportion                                                                    Min =      538,113
                  435 Max Seats to Calculate                                                                Max =     1,059,981
                   75 States
                   50
        Include




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                                                   2020 Population Projections and Apportionment

2020 Projections (long- term 2011-2019 change) based on 2019 Population Estimates, Generated by Census Bureau 12/30/2019


                                                Compare                                      Last Seat Next Seat
State                       Population            To    Seats Change Gain a Seat Lose a Seat  Given       At     Average Size Size Rank
Alabama                           4,913,158       7        6      -1       17,500     760,782     372        436       818,860         6
Alaska                              732,439       1        1       0                            at large     637       732,439        37
Arizona                           7,363,698       9       10       1      615,818     171,572     428        472       736,370        36
Arkansas                          3,025,225       4        4       0      377,252     399,033     379        490       756,306        24
California                       39,696,643       53      52      -1      244,435     655,474     430        438       763,397        22
Colorado                          5,825,957       7        8       1      629,790     152,731     425        485       728,245        40
Connecticut                       3,563,145       5        5       0      604,021     172,745     415        508       712,629        41
Delaware                            980,443       1        1       0                            at large     475       980,443         2
Florida                          21,733,957       27      29       2      706,919     130,957     433        447       749,447        29
Georgia                          10,700,181       14      14       0      325,104     472,628     419        445       764,299        20
Hawaii                            1,419,389       2        2       0      444,225     347,250     333        568       709,694        42
Idaho                             1,808,554       2        2       0       55,060     736,415     261        446       904,277         3
Illinois                         12,653,759       18      17      -1      655,102     150,579     431        460       744,339        32
Indiana                           6,753,109       9        9       0      464,634     320,276     416        465       750,345        28
Iowa                              3,163,630       4        4       0      238,848     537,437     362        468       790,907        10
Kansas                            2,917,511       4        4       0      484,966     291,318     395        507       729,378        38
Kentucky                          4,477,052       6        6       0      453,606     324,676     404        477       746,175        31
Louisiana                         4,655,763       6        6       0      274,894     503,388     392        461       775,961        14
Maine                             1,345,723       2        2       0      517,891     273,585     344        599       672,862        46
Maryland                          6,065,700       8        8       0      390,046     392,475     408        463       758,212        23
Massachusetts                     6,919,755       9        9       0      297,989     486,922     406        452       768,862        18
Michigan                          9,996,752       14      13      -1      267,230     527,878     414        444       768,981        17
Minnesota                         5,668,657       8        7      -1       24,776     755,500     378        437       809,808         8
Mississippi                       2,975,907       4        4       0      426,570     349,714     386        497       743,977        33
Missouri                          6,149,601       8        8       0      306,145     476,376     400        458       768,700        19
Montana                           1,075,958       1        2       1      787,656       3,819     435        735       537,979        50
Nebraska                          1,943,643       3        3       0      691,904      86,645     418        587       647,881        47
Nevada                            3,119,268       4        4       0      283,209     493,075     369        473       779,817        13
New Hampshire                     1,363,526       2        2       0      500,088     291,387     340        589       681,763        45
New Jersey                        8,887,290       12      12       0      615,310     177,193     429        466       740,608        35
New Mexico                        2,098,377       3        3       0      537,171     241,378     388        544       699,459        44
New York                         19,449,289       27      26      -1      708,771     121,030     432        448       748,050        30
North Carolina                   10,572,638       13      14       1      452,647     345,085     422        451       755,188        25
North Dakota                        770,073       1        1       0                            at large     608       770,073        15
Ohio                             11,702,810       16      15      -1       83,715     716,656     410        439       780,187        11
Oklahoma                          3,973,480       5        5       0      193,687     583,080     374        456       794,696         9
Oregon                            4,253,040       5        6       1      677,618     100,664     427        504       708,840        43
Pennsylvania                     12,807,279       18      17      -1      501,583     304,098     426        450       753,369        26
Rhode Island                      1,059,899       2        1      -1                            at large     440      1,059,899        1
South Carolina                    5,197,967       7        7       0      495,466     284,810     412        474       742,567        34
South Dakota                        890,810       1        1       0                            at large     526       890,810         5
Tennessee                         6,872,183       9        9       0      345,561     439,350     409        459       763,576        21
Texas                            29,350,998       36      39       3      698,863     165,968     434        442       752,590        27
Utah                              3,247,776       4        4       0      154,702     621,583     351        455       811,944         7
Vermont                             623,704       1        1       0                            at large     732       623,704        48
Virginia                          8,578,424       11      11       0      162,697     627,230     403        441       779,857        12
Washington                        7,697,326       10      10       0      282,190     505,200     407        449       769,733        16
West Virginia                     1,786,340       3        2      -1       77,273     714,202     265        453       893,170         4
Wisconsin                         5,833,642       8        8       0      622,104     160,417     424        483       729,205        39
Wyoming                             579,855       1        1       0                            at large     782       579,855        49
Washington DC                       714,924        0

                                  329,956,225             435                                              Median =    754,279
Other Inputs:         Seats to Apportion                                                                    Min =      537,979
                  435 Max Seats to Calculate                                                                Max =     1,059,899
                   75 States
                   50
        Include




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                                               Apportionment2020_CensusPopEstimates_Ryan.xls
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                                                                     2020 Apportionment Calculations based on different trend lines coming from the 2019 Census Bureau Estimates
                              2010-2019 Trend           2011-2019 Trend           2012-2019 Trend           2013-2019 Trend           2014-2019 Trend           2015-2019 Trend           2016-2019 Trend           2017-2019 Trend           2018-2019 Trend
                 Compare
State              To           Seats      Change         Seats      Change         Seats      Change         Seats      Change         Seats      Change         Seats      Change         Seats      Change         Seats      Change         Seats      Change
Alabama            7                 6        -1               6        -1               6        -1               6        -1               6        -1               6        -1               6        -1               6        -1               6        -1
Alaska             1                 1        0                1        0                1        0                1        0                1        0                1        0                1        0                1        0                1        0
Arizona            9                10        1               10        1               10        1               10        1               10        1               10        1               10        1               10        1               10        1
Arkansas           4                 4        0                4        0                4        0                4        0                4        0                4        0                4        0                4        0                4        0
California         53               52        -1              52        -1              52        -1              52        -1              52        -1              52        -1              52        -1              52        -1              52        -1
Colorado           7                 8        1                8        1                8        1                8        1                8        1                8        1                8        1                8        1                8        1
Connecticut        5                 5        0                5        0                5        0                5        0                5        0                5        0                5        0                5        0                5        0
Delaware           1                 1        0                1        0                1        0                1        0                1        0                1        0                1        0                1        0                1        0
Florida            27               29        2               29        2               29        2               29        2               29        2               29        2               29        2               29        2               29        2
Georgia            14               14        0               14        0               14        0               14        0               14        0               14        0               14        0               14        0               14        0
Hawaii             2                 2        0                2        0                2        0                2        0                2        0                2        0                2        0                2        0                2        0
Idaho              2                 2        0                2        0                2        0                2        0                2        0                2        0                2        0                2        0                2        0
Illinois           18               17        -1              17        -1              17        -1              17        -1              17        -1              17        -1              17        -1              17        -1              17        -1
Indiana            9                 9        0                9        0                9        0                9        0                9        0                9        0                9        0                9        0                9        0
Iowa               4                 4        0                4        0                4        0                4        0                4        0                4        0                4        0                4        0                4        0
Kansas             4                 4        0                4        0                4        0                4        0                4        0                4        0                4        0                4        0                4        0
Kentucky           6                 6        0                6        0                6        0                6        0                6        0                6        0                6        0                6        0                6        0
Louisiana          6                 6        0                6        0                6        0                6        0                6        0                6        0                6        0                6        0                6        0
Maine              2                 2        0                2        0                2        0                2        0                2        0                2        0                2        0                2        0                2        0
Maryland           8                 8        0                8        0                8        0                8        0                8        0                8        0                8        0                8        0                8        0
Massachusetts      9                 9        0                9        0                9        0                9        0                9        0                9        0                9        0                9        0                9        0
Michigan           14               13        -1              13        -1              13        -1              13        -1              13        -1              13        -1              13        -1              13        -1              13        -1
Minnesota          8                 7        -1               7        -1               7        -1               7        -1               7        -1               7        -1               7        -1               7        -1               7        -1
Mississippi        4                 4        0                4        0                4        0                4        0                4        0                4        0                4        0                4        0                4        0
Missouri           8                 8        0                8        0                8        0                8        0                8        0                8        0                8        0                8        0                8        0
Montana            1                 2        1                2        1                2        1                2        1                2        1                2        1                2        1                2        1                2        1
Nebraska           3                 3        0                3        0                3        0                3        0                3        0                3        0                3        0                3        0                3        0
Nevada             4                 4        0                4        0                4        0                4        0                4        0                4        0                4        0                4        0                4        0
New Hampshire      2                 2        0                2        0                2        0                2        0                2        0                2        0                2        0                2        0                2        0
New Jersey         12               12        0               12        0               12        0               12        0               12        0               12        0               12        0               12        0               12        0
New Mexico         3                 3        0                3        0                3        0                3        0                3        0                3        0                3        0                3        0                3        0
New York           27               26        -1              26        -1              26        -1              26        -1              26        -1              26        -1              26        -1              26        -1              26        -1
North Carolina     13               14        1               14        1               14        1               14        1               14        1               14        1               14        1               14        1               14        1
North Dakota       1                 1        0                1        0                1        0                1        0                1        0                1        0                1        0                1        0                1        0
Ohio               16               15        -1              15        -1              15        -1              15        -1              15        -1              15        -1              15        -1              15        -1              15        -1
Oklahoma           5                 5        0                5        0                5        0                5        0                5        0                5        0                5        0                5        0                5        0
Oregon             5                 6        1                6        1                6        1                6        1                6        1                6        1                6        1                6        1                6        1
Pennsylvania       18               17        -1              17        -1              17        -1              17        -1              17        -1              17        -1              17        -1              17        -1              17        -1
Rhode Island       2                 1        -1               1        -1               1        -1               1        -1               1        -1               1        -1               1        -1               1        -1               1        -1
South Carolina     7                 7        0                7        0                7        0                7        0                7        0                7        0                7        0                7        0                7        0
South Dakota       1                 1        0                1        0                1        0                1        0                1        0                1        0                1        0                1        0                1        0
Tennessee          9                 9        0                9        0                9        0                9        0                9        0                9        0                9        0                9        0                9        0
Texas              36               39        3               39        3               39        3               39        3               39        3               39        3               39        3               39        3               39        3
Utah               4                 4        0                4        0                4        0                4        0                4        0                4        0                4        0                4        0                4        0
Vermont            1                 1        0                1        0                1        0                1        0                1        0                1        0                1        0                1        0                1        0
Virginia           11               11        0               11        0               11        0               11        0               11        0               11        0               11        0               11        0               11        0
Washington         10               10        0               10        0               10        0               10        0               10        0               10        0               10        0               10        0               10        0
West Virginia      3                 2        -1               2        -1               2        -1               2        -1               2        -1               2        -1               2        -1               2        -1               2        -1
Wisconsin          8                 8        0                8        0                8        0                8        0                8        0                8        0                8        0                8        0                8        0
Wyoming            1                 1        0                1        0                1        0                1        0                1        0                1        0                1        0                1        0                1        0
Washington DC       0

                                    435                       435                       435                       435                       435                       435                       435                       435                       435

                            State          Seat       State          Seat       State          Seat       State          Seat       State          Seat       State          Seat       State          Seat       State          Seat       State          Seat

                        430 California             52 California             52 California             52 California             52 California             52 California             52 California             52 California             52 California             52
                        431 Illinois               17 Illinois               17 Illinois               17 Illinois               17 Illinois               17 Illinois               17 Illinois               17 Illinois               17 Illinois               17
                        432 New York               26 New York               26 Florida                29 Florida                29 Florida                29 Florida                29 Florida                29 New York               26 New York               26
                        433 Texas                  39 Florida                29 New York               26 New York               26 New York               26 New York               26 New York               26 Florida                29 Texas                  39
                        434 Florida                29 Texas                  39 Texas                  39 Texas                  39 Texas                  39 Texas                  39 Montana                 2 Texas                  39 Montana                 2
                        435 Montana                 2 Montana                 2 Montana                 2 Montana                 2 Montana                 2 Montana                 2 Texas                  39 Montana                 2 Florida                29
                        436 Alabama                 7 Alabama                 7 Alabama                 7 Alabama                 7 Alabama                 7 Alabama                 7 Alabama                 7 Alabama                 7 Alabama                 7
                        437 Minnesota               8 Minnesota               8 Minnesota               8 Minnesota               8 Minnesota               8 Minnesota               8 Minnesota               8 Minnesota               8 Minnesota               8
                        438 California             53 California             53 California             53 California             53 Ohio                   16 Ohio                   16 Ohio                   16 Ohio                   16 Ohio                   16
                        439 Ohio                   16 Ohio                   16 Ohio                   16 Ohio                   16 California             53 California             53 California             53 California             53 California             53
                        440 Rhode Island            2 Rhode Island            2 Rhode Island            2 Rhode Island            2 Rhode Island            2 Rhode Island            2 Rhode Island            2 Rhode Island            2 Rhode Island            2




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                                                                 ElectoralCollege


                                                                          2016 Presidential Election
                                                                                                     Revised Revised
                     New         New        2010s       2000s                 Electoral Electorial Electoral Electorial
                 Apportionment Electoral   Electoral   Electoral     2016     Votes For Votes For Votes For Votes For
                  Count (2018- College     College     College Presidentia Clinton         Trump      Clinton     Trump
State             2019 Trend)   Count       Count       Count      l Victor      (D)       (Rep)        (D)       (Rep)
Alabama                 6          8          9            9        Trump         0           9          0          8
Alaska                  1          3          3            3        Trump         0           3          0          3
Arizona               10          12          11          10        Trump         0          11          0          12
Arkansas                4          6          6            6        Trump         0           6          0          6
California            52          54          55          55       Clinton        55          0          54         0
Colorado                8         10          9            9       Clinton        9           0          10         0
Connecticut             5          7          7            7       Clinton        7           0          7          0
Delaware                1          3          3            3       Clinton        3           0          3          0
Florida               29          31          29          27        Trump         0          29          0          31
Georgia               14          16          16          15        Trump         0          16          0          16
Hawaii                  2          4          4            4       Clinton*       3           0          3          0
Idaho                   2          4          4            4        Trump         0           4          0          4
Illinois              17          19          20          21       Clinton        20          0          19         0
Indiana                 9         11          11          11        Trump         0          11          0          11
Iowa                    4          6          6            7        Trump         0           6          0          6
Kansas                  4          6          6            6        Trump         0           6          0          6
Kentucky                6          8          8            8        Trump         0           8          0          8
Louisiana               6          8          8            9        Trump         0           8          0          8
Maine                   2          4          4            4       Clinton        3           1          4          0
Maryland                8         10          10          10       Clinton        10          0          10         0
Massachusetts           9         11          11          12       Clinton        11          0          11         0
Michigan              13          15          16          17        Trump         0          16          0          15
Minnesota               7          9          10          10       Clinton        10          0          9          0
Mississippi             4          6          6            6        Trump         0           6          0          6
Missouri                8         10          10          11        Trump         0          10          0          10
Montana                 2          4          3            3        Trump         0           3          0          4
Nebraska                3          5          5            5        Trump         0           5          0          5
Nevada                  4          6          6            5       Clinton        6           0          6          0
New Hampshire           2          4          4            4       Clinton        4           0          4          0
New Jersey            12          14          14          15       Clinton        14          0          14         0
New Mexico              3          5          5            5       Clinton        5           0          5          0
New York              26          28          29          31       Clinton        29          0          28         0
North Carolina        14          16          15          15        Trump         0          15          0          16
North Dakota            1          3          3            3        Trump         0           3          0          3
Ohio                  15          17          18          20        Trump         0          18          0          17
Oklahoma                5          7          7            7        Trump         0           7          0          7
Oregon                  6          8          7            7       Clinton        7           0          8          0
Pennsylvania          17          19          20          21        Trump         0          20          0          19
Rhode Island            1          3          4            4       Clinton        4           0          3          0
South Carolina          7          9          9            8        Trump         0           9          0          9
South Dakota            1          3          3            3        Trump         0           3          0          3
Tennessee               9         11          11          11        Trump         0          11          0          11
Texas                 39          41          38          34       Trump#         0          36          0          39
Utah                    4          6          6            5        Trump         0           6          0          6
Vermont                 1          3          3            3       Clinton        3           0          3          0
Virginia              11          13          13          13       Clinton        13          0          13         0
Washington            10          12          12          11      Clinton&        8           0          8          0
West Virginia           2          4          5            5        Trump         0           5          0          4
Wisconsin               8         10          10          10        Trump         0          10          0          10
Wyoming                 1          3          3            3        Trump         0           3          0          3
Washington DC          1           3          3            3       Clinton        3           0          3          0
                                                                                 227        304         225        306
                                                                                                         -2         2
                                                                 #One elector voted for John Kasich for President
                                                                 #One elector voted for Ron Paul for President
                                                                 &Three electors voted for Colin Powell for President
                                                                 &One elector voted for Faith Spotted Eagle
                                                                 *One elector voted for Bernie Sanders



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                                                                 ElectoralCollege


         2012 Presidential Election                               2008 Presidential Election
                                       Revised Revised                                   Revised Revised
             Electoral   Electorial   Electoral Electorial          Electoral Electorial Electoral Electorial
   2012      Votes For   Votes For    Votes For Votes For   2008    Votes For Votes For Votes For Votes For
Presidential Obama       Romney        Obama    Romney Presidential Obama      McCain    Obama      McCain
   Victor       (D)        (Rep)         (D)      (Rep)     Victor     (D)      (Rep)       (D)      (Rep)
 Romney          0            9           0         8      McCain       0         9          0         8
 Romney          0            3           0         3      McCain       0         3          0         3
 Romney          0           11           0         12     McCain       0         10         0         12
 Romney          0            6           0         6      McCain       0         6          0         6
  Obama          55           0           54        0      Obama       55         0          54        0
  Obama          9            0           10        0      Obama        9         0          10        0
  Obama          7            0           7         0      Obama        7         0          7         0
  Obama          3            0           3         0      Obama        3         0          3         0
  Obama          29           0           31        0      Obama       27         0          31        0
 Romney          0           16           0         16     McCain       0         15         0         16
  Obama          4            0           4         0      Obama        4         0          4         0
 Romney          0            4           0         4      McCain       0         4          0         4
  Obama          20           0           19        0      Obama       21         0          19        0
 Romney          0           11           0         11     Obama       11         0          11        0
  Obama          6            0           6         0      Obama        7         0          6         0
 Romney          0            6           0         6      McCain       0         6          0         6
 Romney          0            8           0         8      McCain       0         8          0         8
 Romney          0            8           0         8      McCain       0         9          0         8
  Obama          4            0           4         0      Obama        4         0          4         0
  Obama          10           0           10        0      Obama       10         0          10        0
  Obama          11           0           11        0      Obama       12         0          11        0
  Obama          16           0           15        0      Obama       17         0          15        0
  Obama          10           0           9         0      Obama       10         0          9         0
 Romney          0            6           0         6      McCain       0         6          0         6
 Romney          0           10           0         10     McCain       0         11         0         10
 Romney          0            3           0         4      McCain       0         3          0         4
 Romney          0            5           0         5      McCain       1         4          1         4
  Obama          6            0           6         0      Obama        5         0          6         0
  Obama          4            0           4         0      Obama        4         0          4         0
  Obama          14           0           14        0      Obama       15         0          14        0
  Obama          5            0           5         0      Obama        5         0          5         0
  Obama          29           0           28        0      Obama       31         0          28        0
 Romney          0           15           0         16     Obama       15         0          16        0
 Romney          0            3           0         3      McCain       0         3          0         3
  Obama          18           0           17        0      Obama       20         0          17        0
 Romney          0            7           0         7      McCain       0         7          0         7
  Obama          7            0           8         0      Obama        7         0          8         0
  Obama          20           0           19        0      Obama       21         0          19        0
  Obama          4            0           3         0      Obama        4         0          3         0
 Romney          0            9           0         9      McCain       0         8          0         9
 Romney          0            3           0         3      McCain       0         3          0         3
 Romney          0           11           0         11     McCain       0         11         0         11
 Romney          0           38           0         41     McCain       0         34         0         41
 Romney          0            6           0         6      McCain       0         5          0         6
  Obama          3            0           3         0      Obama        3         0          3         0
  Obama          13           0           13        0      Obama       13         0          13        0
  Obama          12           0           12        0      Obama       11         0          12        0
 Romney          0            5           0         4      McCain       0         5          0         4
  Obama          10           0           10        0      Obama       10         0          10        0
 Romney          0            3           0         3      McCain       0         3          0         3
  Obama          3            0           3         0      Obama        3         0          3         0
                332         206          328       210                 365       173       356        182
                                          -4        4                                        -9        9




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                                                             ElectoralCollege


        2004 Presidential Election                           2000 Presidential Election
                                            Revised                                              Revised
                       Electorial Revised Electorial                        Electorial Revised Electorial
   2004      Electoral Votes For Electoral Votes For    2000      Electoral Votes For Electoral Votes For
Presidential Votes For   Bush     Votes For  Bush    Presidential Votes For   Bush     Votes For  Bush
   Victor    Kerry (D)   (Rep)    Kerry (D)  (Rep)      Victor    Gore (D)    (Rep)    Gore (D)   (Rep)
   Bush          0         9          0        8        Bush          0         9          0        8
   Bush          0         3          0        3        Bush          0         3          0        3
   Bush          0         10         0        12       Bush          0         8          0        12
   Bush          0         6          0        6        Bush          0         6          0        6
   Kerry        55         0          54       0        Gore         54         0          54       0
   Bush          0         9          0        10       Bush          0         8          0        10
   Kerry         7         0          7        0        Gore          8         0          7        0
   Kerry         3         0          3        0        Gore          3         0          3        0
   Bush          0         27         0        31       Bush          0         25         0        31
   Bush          0         15         0        16       Bush          0         13         0        16
   Kerry         4         0          4        0        Gore          4         0          4        0
   Bush          0         4          0        4        Bush          0         4          0        4
   Kerry        21         0          19       0        Gore         22         0          19       0
   Bush          0         11         0        11       Bush          0         12         0        11
   Bush          0         7          0        6        Gore          7         0          6        0
   Bush          0         6          0        6        Bush          0         6          0        6
   Bush          0         8          0        8        Bush          0         8          0        8
   Bush          0         9          0        8        Bush          0         9          0        8
   Kerry         4         0          4        0        Gore          4         0          4        0
   Kerry        10         0          10       0        Gore         10         0          10       0
   Kerry        12         0          11       0        Gore         12         0          11       0
   Kerry        17         0          15       0        Gore         18         0          15       0
   Kerry         9         0          8        0        Gore         10         0          9        0
   Bush          0         6          0        6        Bush          0         7          0        6
   Bush          0         11         0        10       Bush          0         11         0        10
   Bush          0         3          0        4        Bush          0         3          0        4
   Bush          0         5          0        5        Bush          0         5          0        5
   Bush          0         5          0        6        Bush          0         4          0        6
   Kerry         4         0          4        0        Bush          0         4          0        4
   Kerry        15         0          14       0        Gore         15         0          14       0
   Bush          0         5          0        5        Gore          5         0          5        0
   Kerry        31         0          28       0        Gore         33         0          28       0
   Bush          0         15         0        16       Bush          0         14         0        16
   Bush          0         3          0        3        Bush          0         3          0        3
   Bush          0         20         0        17       Bush          0         21         0        17
   Bush          0         7          0        7        Bush          0         8          0        7
   Kerry         7         0          8        0        Gore          7         0          8        0
   Kerry        21         0          19       0        Gore         23         0          19       0
   Kerry         4         0          3        0        Gore          4         0          3        0
   Bush          0         8          0        9        Bush          0         8          0        9
   Bush          0         3          0        3        Bush          0         3          0        3
   Bush          0         11         0        11       Bush          0         11         0        11
   Bush          0         34         0        41       Bush          0         32         0        41
   Bush          0         5          0        6        Bush          0         5          0        6
   Kerry         3         0          3        0        Gore          3         0          3        0
   Bush          0         13         0        13       Bush          0         13         0        13
   Kerry        11         0          12       0        Gore         11         0          12       0
   Bush          0         5          0        4        Bush          0         5          0        4
   Kerry        10         0          10       0        Gore         11         0          10       0
   Bush          0         3          0        3        Bush          0         3          0        3
   Kerry         3         0          3        0        Gore          2         0          2        0
                251       286        239      298                    266       271        246      291
                                     -12       12                                         -20       20




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              APPENDIX 3
  (Exhibit 3 to Declaration of Kimball W. Brace)
        Case 8:19-cv-02710-PX-PAH-ELH              Document
                      2020 Census Housing Unit Enumeration Progress112-6      Filed 09/01/20
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                           Report Date: 8/30/2020
                As of 8/29/2020, percentage of housing units:

                                        Enumerated in
State                  Self-Responded                            Enumerated
                                        Nonresponse
U.S. Total                   64.9             16.9                       81.7
Idaho                      68.6                27.8                      96.5
West Virginia              55.6                37.3                      92.9
Washington                 71.1                20.5                      91.5
Kansas                     68.6                22.4                      91.0
Connecticut                69.0                21.0                      90.0
Oregon                     67.7                22.3                      90.0
Maine                      57.0                32.9                      89.8
Wisconsin                  71.1                18.7                      89.8
Hawaii                     61.7                28.0                      89.7
Indiana                    69.0                20.6                      89.6
Minnesota                  73.8                14.0                      87.9
Illinois                   69.6                18.1                      87.7
Maryland                   69.2                17.3                      86.5
Missouri                   64.6                22.0                      86.5
California                 67.1                18.8                      85.9
Massachusetts              67.3                18.7                      85.9
Alaska                     52.8                32.3                      85.1
Utah                       69.3                15.8                      85.1
Pennsylvania               67.7                17.4                      85.0
Ohio                       69.0                15.9                      84.9
North Dakota               63.9                20.2                      84.1
Nebraska                   70.4                13.6                      84.0
Virginia                   69.4                14.2                      83.7
Colorado                   68.2                15.3                      83.5
Arkansas                   59.3                23.7                      83.0
Tennessee                  64.2                18.1                      82.2
Michigan                   69.9                11.9                      81.8
Rhode Island               62.8                19.0                      81.8
New Jersey                 66.9                14.1                      81.0
Vermont                    58.7                22.1                      80.8
New Hampshire              64.9                15.8                      80.7
Kentucky                   67.0                13.4                      80.4
South Dakota               65.5                14.5                      80.0
District of Columbia       61.3                18.5                      79.7
New York                   61.0                17.9                      78.8
Delaware                   62.4                16.1                      78.5
Iowa                       69.7                08.8                      78.5
Nevada                     64.1                14.3                      78.5
Oklahoma                   59.2                19.3                      78.5
Wyoming                    59.2                19.1                      78.3
Texas                      60.2                17.5                      77.7
Florida                    61.5                13.3                      74.8
Louisiana                  58.3                16.2                      74.4
North Carolina             60.7                13.6                      74.3
Mississippi                58.9                14.8                      73.7
South Carolina             58.7                14.7                      73.4
Montana                    58.1                15.2                      73.3
Alabama                    61.8                11.2                      73.0
Arizona                    61.3                11.5                      72.9
Puerto Rico                32.2                40.6                      72.8
Georgia                    60.2                12.5                      72.7
New Mexico                 55.6                15.6                      71.2

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